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 5   Attorneys for Defendant
     COUNTY OF MARIN
 6

 7
                                     UNITED STATES DISTRICT COURT
 8
                                   NORTHERN DISTRICT OF CALIFORNIA
 9

10

11   SEAPLANE ADVENTURES, LLC, a California                   Case No.: 20-cv-06222-WHA
     Limited Liability Company
12                                                            DECLARATION OF SERGEANT
                                                              BRENTON SCHNEIDER IN SUPPORT OF
13                  Plaintiff,                                DEFENDANT COUNTY OF MARIN'S
                                                              MOTION FOR SUMMARY JUDGMENT
14          V.
                                                              Complaint filed: September 2, 2020
15   COUNTY OF MARIN, CALIFORNIA; AND
     DOES 1 THROUGH 10, Inclusive,                            Date:       October 7, 2021
16                                                            Time:       8:00AM
                                                              Judge:      Honorable William Alsup
17                  Defendant.                                Dept:       Courtroom 12, 19th Floor

18

19

20          I, SERGEANT BRENTON SCHNEIDER, declare as follows:

21           1.     I am employed as a Sergeant in the Marin County Sheriffs Office. I submit this

22   declaration in support of the motion for summary judgment filed by the County of Marin ("County") in

23   this matter. I have personal knowledge of the contents of this declaration, except as to any matters

24    stated on information and belief, and as to those matters, I am informed and believe them to be true. If

25   called as a witness, I could and would competently testify to the matters set forth in this declaration.

26           2.     Since July 2019, I have served as the Public Information Officer for the Marin County

27    Sheriffs Office. My duties include managing official communications and publicity efforts for the

28

      DECLARATION OF SERGEANT BRENTON SCHNEIDER IN SUPPORT OF DEFENDANT COUNTY OF MARIN'S
                                MOTION FOR SUMMARY JUDGMENT
                                  USDC Case No. 20-cv-06222-WHA
 1   Sheriffs Office, and serving as a liaison for communications between the Sheriffs Office (and County)
 2   and individuals and businesses in the community.
 3           3.    In 2020, my duties included managing official communications and publicity efforts
 4   related to County's response to the COVID-19 pandemic, including the various health orders and other

 5   guidance issued through Publ.ic Health Officer Dr. Matthew Willis. In connection with these duties, I
 6   communicated with County staff working on the County's response, including Dr. Willis and attorneys
 7   from the County Counsel's office.
 8           4.    In June 2020, I understand that Dr. Willis and other County staff received reports that

 9   Plaintiff in this case, Seaplane Adventures, LCC, was operating recreational tour flights in violation of
10   the health orders in effect at that time. After consulting with the County Counsel's office, I sent an

11   email to Plaintiffs CEO, Aaron Singer, on June 11, 2020, stating in relevant part that Plaintiff needed

12   "to cease any operations related to commercial sight-seeing flights." Mr. Singer responded to me via

13   email on June 12, 2020. I replied to Mr. Singer via email on June 15, 2020 with a fuller explanation of
14   how the terms of the health orders applied to Plaintiff, including most specifically that Plaintiff was
15   permitted to provide for "essential travel," but not for travel that was strictly recreational, such as

16    scenic tours. A true and correct copy of the email chain containing these communications is attached
17   hereto as Exhibit 12.

18
19            I declare under penalty of perjury under the laws of the State of California that the foregoing is
20   true and accurate to the best of my knowledge

21          Executed on August 30, 2021, in San Rafael, California.
22

23                                                         By:
                                                                     Sgt. Brenton Schneider
24
25
26

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      DECLARATION OF SERGEANT BRENTON SCHNEIDER IN SUPPORT OF DEFENDANT COUNTY OF MARIN' S
          MOTION FOR SUMMARY JUDGMENT PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 56
                                  USDC Case No. 20-cv-06222-WHA
EXHIBIT 12
From:                                           Schneider, Brenton
To:                                             Aaron Singer
Subject:                                        RE: Operations during COVID-19
Date:                                           Monday, June 15, 2020 12:13:00 PM


Mr. Singer:

I have worked with County staff to review your email and the County’s position is that your
operations are a clear violation of the current order. Here is further explanation.

Our position:
                 Seaplane scenic tours and/or leisure travel services are not expressly called-out as an allowed
                 “additional business” under the June 5 modification to Appendix C-1
                 (https://coronavirus.marinhhs.org/appendix-c-1-additional-businesses-permitted-operate)
                 However, to the extent your business provides flights for limited, authorized travel purposes
                 (i.e. not sightseeing or leisure travel to Lake Tahoe), you can provide passengers with flights
                 that allow for “essential travel” under the County’s May 15, 2020 Shelter in place order. Here
                 is the County’s definition:



                                   “Essential Travel” means travel for any of the following purposes:

                                                       i.            Travel related to the provision of or access to Essential Activities,
                                                             Essential Governmental Functions, Essential Businesses, Minimum Basic
                                                             Operations, Outdoor Activities, Outdoor Businesses, Additional
                                                             Activities, and Additional Businesses.

                                                     ii.            Travel to care for any elderly, minors, dependents, or persons with
                                                            disabilities.

                                                   iii.            Travel to or from educational institutions for purposes of receiving
                                                           materials for distance learning, for receiving meals, and any other related
                                                           services.

                                                   iv.            Travel to return to a place of residence from outside the County.

                                                     v.            Travel required by law enforcement or court order.

                                                   vi.            Travel required for non-residents to return to their place of residence
                                                          outside the County. Individuals are strongly encouraged to verify that
                                                          their transportation out of the County remains available and functional
                                                          prior to commencing such travel.

                                                  vii.            Travel to manage after-death arrangements and burial.

                                                viii.            Travel to arrange for shelter or avoid homelessness.

                                                    ix.            Travel to avoid domestic violence or child abuse.

                                                     x.            Travel for parental custody arrangements.
                                                    xi.            Travel to a place to temporarily reside in a residence or other facility
                                                          to avoid potentially exposing others to COVID-19, such as a hotel or
                                                          other facility provided by a governmental authority for such purposes.


None of your arguments have merit:

                 SINGER: Seaplane Adventures was never required to shut down as we are certified as a Part
                 91 and Part 135 Air Transportation Carrier by the Federal Aviation Administration and were
                 therefore classified as an essential air transportation business since the beginning of the
                 shelter-in-place orders.

                     RESPONSE: Certification status with the FAA is irrelevant. What matters here is
                     what the Marin County Health Officer has ordered. The Marin County Health Officer
                     has not created an exception for seaplane sightseeing tours or leisure travel businesses.

                 SINGER: Additionally, as of June 5th we fall under charter boat operators being allowed to
                 reopen as we are regulated as a marine vessel by the United States Coast Guard when
                 navigating on the water.

                     RESPONSE: The Health Officer approved “charter boat” guidelines with boats in
                     mind. The confined space of an aircraft cabin has not been considered, and likely
                     raises additional health concerns. Just because a seaplane is a “vessel” when it is
                     taxiing on water doesn’t change that fact: the Health Officer didn’t intend to allow for
                     seaplane tours or leisure travel.
                 SINGER: Thirdly we fall under outdoor activities guidelines as our activities take place entirely
                 outdoors.

                     RESPONSE: If you rented kayaks, this would be true. (See examples of permitted
                     “outdoor-type businesses” at https://marinrecovers.com/parks-outdoor-recreation/.)
                     Sitting inside a seaplane, even with the windows open for the duration, cannot fairly be
                     construed as being “outdoors.”
                 SINGER: Finally, today marks the reopening of all interior retail stores across Marin County,
                 which we also fall under.

                     RESPONSE: Offering a sightseeing tour in a seaplane is not “indoor retail.” Indoor
                     retail means “indoor shopping.” (See https://marinrecovers.com/parks-outdoor-
                     recreation/)

Failure to comply with the order will result in a citation being issued for each continued violation.

Respectfully,

BRENTON SCHNEIDER, SERGEANT
Public Information Officer (PIO)
Marin County Sheriff’s Office
1600 Los Gamos Dr. #200
San Rafael, CA 94903
Office: (415) 473-5567
Cell: (628) 888-9398
24hr Dispatch: (415) 479-2311
b_schneider@marinsheriff.org

In Partnership with our Communities


From: Aaron Singer <aaron@seaplane.com>
Sent: Friday, June 12, 2020 10:04 AM
To: Schneider, Brenton <B_Schneider@marinsheriff.org>
Subject: Re: Operations during COVID-19

Sheriff Schneider:

Though I appreciate your addressing complaints by a “multitude” of Strawberry residents who have
had an axe to grind with Seaplane Adventures since their multiple failed attempts to use the County
to shut us down in 2017 and again in 2019/2020, we nonetheless resolutely dispute your assertation
that we do not fall under “allowed business operations”.

Seaplane Adventures was never required to shut down as we are certified as a Part 91 and Part 135
Air Transportation Carrier by the Federal Aviation Administration and were therefore classified as an
essential air transportation business since the beginning of the shelter-in-place orders. Additionally,
as of June 5th we fall under charter boat operators being allowed to reopen as we are regulated as a
marine vessel by the United States Coast Guard when navigating on the water. Thirdly we fall under
outdoor activities guidelines as our activities take place entirely outdoors. Finally, today marks the
reopening of all interior retail stores across Marin County, which we also fall under.

Seaplane Adventures takes the responsibility for the health and safety of our employees and
customers at the utmost seriousness and has put strict health and safety guidelines in place,
including a COVID-19 Site Specific Protection Plan, as per the Marin County Health Department and
the U.S. Center for Disease Control, to protect our employees and our customers. These guidelines
include:

      All employees and customers are required to wear facial masks or facial coverings at all times
      when on Seaplane Adventures (SA) premises or on SA aircraft
      When inside the reception office and out on the docks, all customers are required to maintain
      recommended six feet social distancing
      We have installed plexiglass barriers in our reception area separating employees from
      customers for their mutual protection
      All customers are RERQUIRED to submit to having their temperatures taken prior to
      embarkation on our seaplanes
      Aircraft interior surfaces and seating are thoroughly wiped down with CDC recommended
      disinfectants prior to and directly after every flight
      Seating capacity has been reduced in our aircraft to create maximum social distancing
      between passengers (well below the 10 passengers allowed under charter operator
      guidelines)
         Embarkation and disembarkation of passengers are directed solely by authorized SA
         personnel
         Hand sanitizer is available to all employees and customers

Please inform your complainants of these facts and policies.

Thank you-
Aaron Singer

Aaron Singer | CEO | Seaplane Adventures
aaron@seaplane.com | (c) 415-272-6540
www.seaplane.com

COME FLY WITH US!



From: "Schneider, Brenton" <B_Schneider@marinsheriff.org>
Date: Thursday, June 11, 2020 at 2:43 PM
To: Aaron Singer <aaron@seaplane.com>
Subject: Operations during COVID-19

Aaron,

I contacted your business and asked to book a flight and was told you are flying Fridays, Saturdays
and Sundays.

Unfortunately, your business does not fall under allowed business operations during the Shelter-in-
Place Order. In addition, we have received a multitude of complaints regarding your business still
being open.

Please let me know when you receive this. I am happy to discuss over the phone if you would like.
Until allowed by Public Health, your business needs to cease any operations related to commercial
sight-seeing flights.

Respectfully,

BRENTON SCHNEIDER, SERGEANT
Public Information Officer (PIO)
Marin County Sheriff’s Office
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San Rafael, CA 94903
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